                          UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
                           Criminal No.: 20-168 (WMW/ECW)

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )
                                                   POSITION OF THE UNITED
                                           )
                                                   STATES WITH RESPECT TO
              v.                           )
                                                   SENTENCING
                                           )
MONTEZ TERRIEL LEE, JR.,                   )
                                           )
                     Defendant.            )

       The United States of America, by and through its attorneys, W. Anders Folk, Acting

United States Attorney for the District of Minnesota, and Thomas Calhoun-Lopez,

Assistant United States Attorney, hereby submits this memorandum setting forth its

position with respect to sentencing factors in this matter.

       For the reasons delineated below, the United States asks this Court to sentence

Defendant Montez Terriel Lee, Jr. to a term of imprisonment of 144 months.

                                  I.     BACKGROUND

       a.     Offense Conduct.

       As the Court is well aware, on May 26, 2020, thousands of people gathered in the

area of 38th and Chicago Avenue to protest the death of George Floyd at the hands of

Minneapolis police officers. Following the mostly peaceful protests that occurred on that

night, the Cities of Minneapolis and St. Paul, and some surrounding communities, endured

three nights of violence and destruction. Between Wednesday night and the early hours of

Saturday morning, following several organized and peaceful protests, hundreds of

individuals carrying on into the night vandalized and looted local businesses and destroyed


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buildings, vehicles, and other property through arson, smashing doors and windows,

hurling objects, and other means.

       As part of that unrest, on May 28, Mr. Lee and others broke into the Max It Pawn

Shop located at 2726 East Lake Street. Mr. Lee poured fire accelerant around the pawn

shop and lit it on fire. The subsequent fire destroyed the business.

       On June 8, 2020, ATF Special Agent Certified Fire Investigators received three

videos from the arson of the Max It Pawn.

       The first video begins with people looting the Max It Pawn. Then a masked man,

later identified as Mr. Lee, is shown pouring liquid out from a metal container throughout

the pawn store. The video then cuts to outside the pawn shop, which is now on fire. Mr.

Lee is shown, now not wearing a shirt, holding his fist up. The man taking the video

exclaims “Oh, shit—you really did it!”

       The second video begins with the man identified as Mr. Le standing in front of the

pawn shop as it is in flames The individual filming asks Mr. Lee “What you do, Tez?”

Mr. Lee responds “Fuck this place. We’re gonna burn this bitch down.”

       The third video begins with a group of men, including the man identified as Mr.

Lee, joking about restaurants they are going to “hit” next. It then cuts to a recording of a

cell phone showing the looting of the pawn shop.




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Fig. 1: A still from the first video, showing Mr.   Fig. 2: Mr. Lee in front of the burning pawn shop.
Lee pouring accelerant around the pawn shop.


        On June 5, 2020, a man named Oscar Lee Stewart, 30, was reported missing to the

Burnsville Police Department by his mother. Mr. Stewart’s mother reported that she had

not seen her son since May 28, 2020. Investigators learned that Mr. Stewart’s vehicle had

been found near the Max It Pawn.

        On July 20, 2020, authorities located Mr. Stewart’s body in the rubble of the Max

It Pawn.       Mr. Stewart’s remains were submitted to the Hennepin County Medical



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Examiner’s Office. That office attributed Mr. Stewart’s death to “probable inhalation of

products of combustion and thermal injury (building fire).”

       b.       The Presentence Investigation Report.

                1.    The Government’s Position.

       The United States agrees with the conclusions set forth in the Presentence Report

(“PSR”) concerning the Guidelines calculations. Because a death resulted from the

offense, the provisions of U.S.S.G. § 2A1.2 apply.         (PSR ¶ 16, citing U.S.S.G. §

2K1.4(c)(1).) The adjusted offense level is therefore 38. (PSR ¶ 16, citing U.S.S.G. §

2A1.2(a).) With full credit for acceptance of responsibility, the total offense level is 35.

(PSR ¶ 25.) Mr. Lee’s prior convictions of burglary, assault, violation of no contact order,

and theft of property yield five criminal history points. (PSR ¶¶ 30, 33, 34, 35.) Because

Mr. Lee was under a criminal justice sentence for his prior assault conviction in Olmsted

County, two additional points are added. (PSR ¶ 39.) Mr. Lee’s criminal history category

is therefore IV. (PSR ¶ 40.) The resulting Guideline range would be 235–293 month’s

imprisonment. (PSR ¶ 78.) Because this exceeds the statutory maximum term of 240

months, the Guideline range is 235–240 months’ imprisonment. (Id., citing U.S.S.G. §

5G1.1(c)(1).)

                2.    Mr. Lee’s Objections.

       Consistent with his plea agreement, Mr. Lee has objected to the determination by

the PSR that Mr. Stewart’s death resulted from his offense, and the subsequent application

of application of U.S.S.G. § 2A1.2(a). (PSR A.1–A.2.) The United States opposes this

objection. The United States has sought an evidentiary hearing to establish the relevant


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facts at sentencing. (Document No. 66.)

                                     II.    ARGUMENT

         As the Court knows, in addition to determining Mr. Lee’s Sentencing Guideline

range (18 U.S.C. § 3553(a)(4)), the Court is required to assess the other applicable

sentencing factors under Section 3553(a) of federal sentencing law. Those factors include

the nature and circumstances of the offense; the history and characteristics of the defendant;

the need for the sentence imposed to reflect the seriousness of the offense, to promote

respect for the law, to provide just punishment for the offense, to afford adequate deterrence

to criminal conduct, and to protect the public from further crimes of the defendant; the need

to avoid unwarranted sentencing disparities; and the need to provide restitution to victims.

18 U.S.C. § 3553(a).

         Pursuant to these factors, the United States requests the Court sentence Mr. Lee to

a term of imprisonment of 144 months.

         a.     The Nature and Circumstances of the Offense.

         Mr. Lee committed a crime that cost a man his life. His assertion that he did not

intend to hurt anyone is of little comfort to the family and friends Mr. Stewart left behind.

Their loved one has been cruelly taken away from them. Mr. Stewart’s life has been cut

short.

         It is for precisely this reason, of course, that the applicable Guideline provision for

arson cross-references the homicide provisions, including the guidance regarding “felony

murder.” U.S.S.G. §§ 2K1.3(c)(1)(B), 2A1.1, comment. (n.2(B)). Arson in particular is

an inherently dangerous and unpredictable felony offense. The arsonist who sets a building


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ablaze cannot know the extent of the damage or death he or she will cause—the crime is

by its nature chaotic and uncontrollable. Surrounding homes and businesses may be

inadvertently destroyed; firefighters, people trapped in buildings, or the arsonist him or

herself may be killed. In this case, Mr. Stewart paid the cost for Mr. Lee’s flagrantly

dangerous disregard for others. Mr. Lee states that he checked the building before he set

the fire to make sure no one would be hurt. (PSR ¶ 13.) If true, this is at least some small

measure of precaution. But as the evidence makes clear, it was woefully inadequate. Mr.

Lee’s check of the building did not save Oscar Stewart’s life; nor would it have been

effective in saving the lives of any firefighters had they become trapped; nor would it have

saved the lives and property of nearby neighbors if the wind carried the conflagration to

their homes.

       A significant sentence is necessary in this case. It is necessary to provide just

punishment for a crime that cost Mr. Stewart his life; that deprived Mr. Stewart’s family

of their loved one; that risked the lives, homes, and businesses of Minnesotans. The

question before the Court is what this sentence should be.

       b.      Applicability of the U.S. Sentencing Guidelines.

       The value of human life is, of course, incalculable. Civil law attempts to monetize

it for purposes of remedy. Criminal law attempts to account for it for purposes of

punishment. But for Mr. Stewart’s family and friends, his life was invaluable. No price

tag can be put on it, and no amount of punishment can equal the loss.

       The Sentencing Guidelines note that for cases of felony murder where “the

defendant did not cause the death intentionally or knowingly, a downward departure may


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be warranted.” U.S.S.G. § 2A1.1, comment. (n.2(B)). The Guidelines add that the “extent

of the departure should be based upon the defendant’s state of mind (e.g., recklessness or

negligence), the degree of risk inherent in the conduct, and the nature of the underlying

offense conduct.” Id. The Guidelines note, however, that “departure below the minimum

guideline sentence provided for second degree murder in § 2A1.2 (Second Degree Murder)

is not likely to be appropriate. Id. Thus, the PSR’s assignment of base offense level 38.

(PSR ¶ 16.)

       The Guidelines state that departure below this range is not ordinarily appropriate.

However this is an extraordinary case. The United States therefore seeks a downward

variance, and a sentence of 144 months.

       Mr. Lee’s motive for setting the fire is a foremost issue. Mr. Lee credibly states that

he was in the streets to protest unlawful police violence against black men, and there is no

basis to disbelieve this statement. Mr. Lee, appropriately, acknowledges that he “could

have demonstrated in a different way,” but that he was “caught up in the fury of the mob

after living as a black man watching his peers suffer at the hands of police.” (PSR ¶ 13.)

As anyone watching the news world-wide knows, many other people in Minnesota were

similarly caught up. There appear to have been many people in those days looking only to

exploit the chaos and disorder in the interests of personal gain or random violence. There

appear also to have been many people who felt angry, frustrated, and disenfranchised, and

who were attempting, in many cases in an unacceptably reckless and dangerous manner, to

give voice to those feelings. Mr. Lee appears to be squarely in this latter category. And

even the great American advocate for non-violence and social justice, Dr. Martin Luther


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King, Jr., stated in an interview with CBC’s Mike Wallace in 1966 that “we’ve got to see

that a riot is the language of the unheard.” Lily Rothman, What Martin Luther King Jr

Really Thought About Riots, Time Magazine (2015), https://time.com/3838515.

       In light of these circumstances, the analysis of the Guidelines does not appear

appropriate. Consider, for example, that both assault with intent to commit murder and

attempted murder have a base offense level of 33. U.S.S.G. § 2A2.1(a). This means that,

if Mr. Lee had assaulted Mr. Stewart with the intent to kill him, his Guideline range would

be 135–168 months’ imprisonment—about ten years less than the current range. But the

criminal culpability, and the danger to society, that an attempted murderer poses appears

much greater than the culpability and danger of Mr. Lee.

      c.      Comparable Sentences.

      This case can be compared and contrasted with other cases the United States found

in which arson or the detonation of a destructive device took a human life.

           • In United States v. Martinez, the defendants detonated a bomb to destroy a
             commercial building as part of a protection money scheme. 16 F.3d 202, 204
             (7th Cir. 1994). The bomb killed a co-conspirator. Id. The defendants
             received sentences ranging between three and ten years, depending upon
             roles in the offense and criminal histories. Id. at 205.

           • In United States v. Paden, the defendant was convicted of setting an electrical
             fire in a commercial building to commit insurance fraud. 908 F.2d 1229,
             1232–33 (5th Cir. 1990). A firefighter responding to the fire was trapped by
             falling debris and killed. Id. at 1233. The defendant was sentenced to 140
             months’ imprisonment. Id.

           • In United States v. Martin, the defendant destroyed a two-story residential
             apartment building in retaliation for an occupant’s having informed on his
             drug dealing activities. 63 F.3d 1422, 1424 (7th Cir. 1995). Three
             firefighters were trapped when a wall collapsed, and two died. Id. The
             defendant was sentenced to 50 years’ imprisonment. Id.

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            • In United States v. El-Zoubi, the defendant paid his 20-year-old nephew to
              burn his store down to collect insurance money. 993 F.2d 442, 445 (5th Cir.
              1993). The nephew was killed in the fire. Id. The defendant was sentenced
              to 120 months’ imprisonment. Id..

       How does the Defendant’s conduct compare with that of the defendants in these

cases? The analysis is complicated. Unlike the cases of Martinez and El-Zoubi, Mr.

Stewart was not a co-conspirator to the crime—he neither contributed to the danger nor

assumed the risk of the crime. He was unlawfully in the pawn shop, but he did nothing to

hurt or endanger anyone. Unlike Martin, Mr. Lee burned down a commercial building, not

a residential one. And unlike all the cases above, however (particularly Martin), Mr. Lee

did not commit the offense as part of a separate felony crime, or otherwise for any personal

gain. The raised fist Mr. Lee showed, and his brazenness in committing the crime (see Fig.

2, supra) is telling. Mr. Lee was terribly misguided, and his actions had tragic, unthinkable

consequences. But he appears to have believed that he was, in Dr. King’s eloquent words,

engaging in “the language of the unheard.”

       Also telling is Mr. Lee’s candor to agents of the Bureau of Alcohol, Tobacco,

Firearms and Explosives (ATF) after he was arrested. The interview took place on June

15, 2020, before the discovery of Mr. Stewart’s body. But Mr. Lee took responsibility for

his actions and admitted to having set the fire, to his credit. He explained the reasons he

had done so, consistent with his statement of acceptance of responsibility (PSR ¶ 13).

       d.      The § 3553(a) Factors.

       The United States now turns to the sentencing objectives of federal law. The law

specifically delineates four categories of requirements for a sentence.        18 U.S.C. §



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3553(a)(2)(A)–(D). Each is addressed separately below.

       The Court’s sentence must “afford adequate deterrence to criminal conduct.” 18

U.S.C. § 3533(a)(2)(B). Specific deterrence does not appear to be a driving factor in this

case. Mr. Lee appears to be a thoughtful, intelligent man. He does have a terrible incident

of domestic violence in his criminal history, in which he viciously assaulted a woman and

ruptured her left eardrum. (PSR ¶ 33.) However his non-vehicular criminal history ends

in 2016, when he was 21 years old. (Id.) His longest sentence has been 60 days’ jail, for

the domestic assault. (Id.) And his criminal actions as a younger man appear informed by

the abusive and unstable environment in which he grew up, for which he has sought

treatment. (PSR ¶¶ 44–47, 64.) A long sentence does not appear necessary to deter Mr.

Lee from future crime. General deterrence likewise seems to be of limited import here.

The events of late May of 2020 were informed by forces that have been present in this

country since its inception. General deterrence appears to be of limited relevance given

the passions and historical forces at work in the crime.

       The Court’s sentence must also “protect the public from further crimes of the

defendant.” 18 U.S.C. § 3533(a)(2)(C). This factor too appears to be of limited relevance.

For the reasons noted in the discussion about deterrence above, Mr. Lee does not appear to

pose a danger to the public.

       The Court’s sentence must “provide the defendant with needed educational or

vocational training, medical care, or other correctional treatment.”         18 U.S.C. §

3533(a)(2)(D). Here again, this does not appear to be a factor that would drive the Court’s

sentence. Mr. Lee reports no illegal drug use since 2019, and has completed substance


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dependency treatment. (PSR ¶¶ 61–62.) He states that he obtained his GED. (PSR ¶ 64.)

He has had significant troubles in school, but this trouble, as well as his history of drug

abuse, again appears to be the result of the abusive and unstable environment in which he

grew up. (PSR ¶¶ 44–47, 64.) Mr. Lee had a plan to turn his life around, which appears

to have been upended by the COVID-19 pandemic. (PSR ¶ 48.) Though he would no

doubt benefit from prison programming, a lengthy sentence does not appear necessary to

provide training, care, or treatment. 1

       That leaves the first requirement that the law imposes: the need for the Court’s

sentence “to reflect the seriousness of the offense, to promote respect for the law, and to

provide just punishment for the offense.” 18 U.S.C. § 3553(a)(2)(A). In the view of the

United States, this is the factor that must drive the Court’s sentence. The Court’s sentence

must account for the fact that Mr. Lee’s crime took Oscar Stewart’s life. It is for this reason

that the United States requests a sentence of 144 months’ imprisonment.

       In the Martinez case, Seventh Circuit Chief Judge Richard Posner discussed the

difficulty in sentencing someone whose reckless actions had taken a human life. 16 F.3d

at 205–06. He discussed “the difference in culpability between endangerment and death,”

and described what philosophers call “moral luck”:

       It is true that in a system of morality in which only intentions and behaviors,
       but not consequences, count, there is no moral distinction between dangerous
       conduct that causes harm and otherwise identical dangerous conduct that
       does not. The only difference is luck, not usually considered a moral
       attribute. But “moral luck,” as philosophers refer to distinctions in

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         The United States likewise acknowledges that, as the Supreme Court has noted,
sentencing courts may not impose a prison term to promote an offender’s treatment or
rehabilitation. Tapia v. United States, 564 U.S. 319, 326–27 (2011).

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       culpability that are based on consequences rather than intentions, is, rightly
       or wrongly, a pervasive characteristic of moral thought in our society, at least
       the moral thought that informs the criminal law. Two people drive at the
       same unlawful speed under identical road conditions. One hits a child; one
       hits no one. The first is guilty of involuntary manslaughter; the second of a
       violation of the highway code. The only difference between their conduct is
       the consequence. The difference, though fortuitous, counts for the severity
       of the punishment deemed appropriate for the defendants' behavior.

Id.

       Judge Posner’s analysis applies no less in this case. “Moral luck” casts a long

shadow over this case. Had circumstances been just a little different, Mr. Stewart would

be alive today, and Mr. Lee would face significantly less criminal liability (a Guideline

range of 60 months, approximately 15 years less than the PSR’s calculation)—the cruel

caprices of fate.    But consequences matter.        As in Martinez, Mr. Lee must face

responsibility for the consequences of his actions, not just his intent.

       No term of imprisonment will bring Mr. Stewart back, or adequately reflect the loss

of his life. A sentence of 144 months will reflect the seriousness of Mr. Lee’s offense,

promote respect for the law, and provide just punishment for that offense. It is 73 times

more than the longest sentence Mr. Lee has ever previously served (60 days). It is sufficient

to address the sentencing factors of 18 U.S.C. § 3553(a).




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                                III.   CONCLUSION

      In light of all the facts of the facts in this case, and pursuant to the sentencing

objectives of 18 U.S.C. § 3553(a), the United States asks this Court to sentence the

Defendant to a term of imprisonment of 144 months.

Date: November 4, 2021
                                               Respectfully Submitted,

                                               W. ANDERS FOLK
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                                               s/ Thomas Calhoun-Lopez

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